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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

William R. Rongey
                                             Plaintiff,
v.                                                           Case No.: 1:18−cv−04613
                                                             Honorable Jorge L. Alonso
Anselmo Lindberg & Associates LLC
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 29, 2019:


        MINUTE entry before the Honorable Gabriel A. Fuentes: Status hearing held. The
parties report that plaintiff has accepted an offer of judgment on the case and that they will
be filing a motion for attorneys' fees before the district judge. All matters subject to the
referral having been concluded, the referral is hereby terminated. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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